                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION


UNITED STATES OF AMERICA,               )
                                        )
     Plaintiff,                         )
                                        )                     3:11-cr-00012-28
v.                                      )                       .
                                        )
DMITRI JOHNSON,                         )
                                        )
     Defendant.                         )


                                              ORDER




           Before the Court is a letter from Defendant Johnson, Document #1255, and the

Government’s response, Document #1268.

           Defendant Johnson complains that he was not presented to a Magistrate Judge within 48

hours. He requests a hearing under Gerstein v. Pugh. Such a hearing is unnecessary and Mr.

Johnson’s complaint is denied. Defendant was presented to Magistrate Judge Knowles on the first

work day after his arrest.

           Furthermore, the circumstances of this take down of multiple defendants are extraordinary

and justify any delay.

           It is so ORDERED.


                                                Thomas A. Wiseman, Jr.
                                                Senior United States District Judge




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